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    PRESS RELEASE


    U.S. Department of Education Initiates Reduction in Force
    MARCH 11, 2025




         As part of the Department of Education’s final mission, the Department today
         initiated a reduction in force (RIF) impacting nearly 50% of the Department’s
         workforce. Impacted Department staff will be placed on administrative leave
         beginning Friday, March 21st.

         “Today’s reduction in force reflects the Department of Education’s commitment to
         efficiency, accountability, and ensuring that resources are directed where they
         matter most: to students, parents, and teachers,” said Secretary of Education
         Linda McMahon. “I appreciate the work of the dedicated public servants and
         their contributions to the Department. This is a significant step toward restoring
         the greatness of the United States education system.”

         The Department of Education will continue to deliver on all statutory programs
         that fall under the agency’s purview, including formula funding, student loans,
         Pell Grants, funding for special needs students, and competitive grantmaking.

         All divisions within the Department are impacted by the reduction, with some
         divisions requiring significant reorganization to better serve students, parents,
         educators, and taxpayers.

         Background

         When President Trump was inaugurated, the Department’s workforce stood at
         4,133 workers. After today’s actions, the Department’s workforce will total roughly
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         2,183 workers. Included in the reduction in force are nearly 600 employees who
         accepted voluntary resignation opportunities and retirement over the last seven
         weeks, including:

               259 employees accepted the Deferred Resignation Program
               313 employees accepted the Voluntary Separation Incentive Payment

         Remaining employees impacted by the reduction in force will be placed on
         administrative leave beginning next Friday, March 21. Pursuant to regulatory
         requirements and the Department’s collective bargaining agreement, all
         impacted employees will receive full pay and benefits until June 9th, as well as
         substantial severance pay or retirement benefits based upon their length of
         service.




         CONTACT

         Press Office | press@ed.gov | (202) 401-1576 | Office of Communications and Outreach (OCO)




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